                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


 LA UNIÓN DEL PUEBLO ENTERO, et al.,

                        Plaintiffs,

                v.                                            Civil Action No. 5:21-cv-844 (XR)
                                                              (Consolidated Cases)
 STATE OF TEXAS, et al.,

                        Defendants.


                     [PROPOSED] ORDER VACATING DEADLINES

       Upon consideration of the United States’ Unopposed Motion to Vacate Deadlines dated

May 18, 2022, the motion is GRANTED. The Court finds that good cause exists to vacate the

May 13, 2022 close of fact discovery and all remaining deadlines in the Amended Scheduling

Order, ECF No. 368, in order to allow for discussion between the parties regarding a proposed

revised Scheduling Order and trial date. Accordingly, the dates and deadlines in the Amended

Scheduling Order are hereby vacated. The parties shall file a revised scheduling proposal or

proposals by June 1, 2022.

It is so ORDERED.

Signed this ____ Day of ____________________, 2022


                                                    ____________________________________
                                                    THE HON. XAVIER RODRIGUEZ
                                                    UNITED STATES DISTRICT JUDGE
